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                      UNITED STATES DISTRICT COURT
                       DISTRICT OF MASSACHUSETTS


ALLIANCE FOR AUTOMOTIVE                     )
INNOVATION                                  )
                                            )     CIVIL ACTION NO.
                  Plaintiff,                )     20-12090-DPW
vs.                                         )
                                            )
                                            )
MAURA HEALEY, ATTORNEY                      )
GENERAL OF THE COMMONWEALTH                 )
OF MASSACHUSETTS,                           )
in her official capacity,                   )
                                            )
                                            )
                  Defendant.                )


                               PROCEDURAL ORDER
                                September 16, 2021

      Without intending to presume upon the gracious willingness of the

Defendant to provide several modifications of its Stipulation concerning

enforcement of the challenged Data Access Law at issue in this case, I find I

must again advise the parties that the date by which I can fairly commit to the

filing of fully developed Findings of Fact and Conclusions of Law to resolve this

matter on the merits in this court must be extended. Generally stated, the

competing demands of other matters, at a time of resurgence in Covid

infections under continued pandemic conditions when the court generally and

my individual session have attempted to reconstitute to resume orderly in

person proceedings, especially when coupled with chambers staff transitions,

have convinced me that September 20, 2021, is too soon to issue the fully
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developed filing by me that the complexities of this case require.   Accordingly,

the Defendant is invited to make a Final Further Modified Stipulation to adjust

the relevant date necessary for an extensive period of consideration in support

of a fully satisfactory opinion until no later than November 2, 2021, bringing

this case to an appealable final judgment.




                                     /s/ Douglas P. Woodlock__ __
                                     DOUGLAS P. WOODLOCK
                                     UNITED STATES DISTRICT JUDGE




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